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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-629V
                                     Filed: March 10, 2017
                                         UNPUBLISHED

****************************
MARY KATHERINE SHADIX,                   *
                                         *
                     Petitioner,         *     Joint Stipulation on Damages;
v.                                       *     Influenza;
                                         *     Guillain-Barre Syndrome (“GBS”);
SECRETARY OF HEALTH                      *     Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                      *
                                         *
                     Respondent.         *
                                         *
****************************
Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Glenn Alexander MacLeod, U.S. Department of Justice, Washington, DC, for
respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On May 26, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered Guillain-Barre Syndrome (“GBS”) as a
consequence of her November 3, 2013 influenza (“flu”) vaccination. Petition at 1-2;
Stipulation, filed March 10, 2017, at ¶ 4. Petitioner further alleges that she suffered
residual effects of her injury for more than six months and that there has been no prior
award or settlement of a civil action for damages on her behalf as a result of her
condition. Petition at 3; Stipulation at ¶¶ 4-5. “Respondent denies that the flu vaccine
caused petitioner’s alleged GBS or any other injury and further denies that her current
disabilities are a sequela of a vaccine-related injury. ” Stipulation at ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on March 10, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $100,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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